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EXHIBIT A

PLAINTIFF MSSD CASE NUMBER LAED CASE NUMBER
MICHAEL HERBERT 1:09-CV-836-HSO-JMR 2:10-cv-00911-KDE-ALC
MARY HAWKINS 1:09-C V-837-HSO-JMR 2:10-cv-01361-KDE-ALC
ROSEMARY COLEMAN 1:09-CV-838-HSO-JMR 2:10-cv-00912-KDE-ALC
ROBERT MESHELL 1:09-CV-839-HSO-JMR 2:10-cv-01362-KDE-ALC
GLORIA OTIS 1:09-CV-840-HSO-JMR 2:10-cv-01363-KDE-ALC
KATHLENE MURRAY 1:09-CV-841-HSO-JMR 2:10-cv-01043-KDE-ALC
BETTY CARTER 1:09-CV-842-HSO-JMR 2:10-cv-00913-KDE-ALC
KENYA HAWKINS 1:09-C V-843-HSO-JMR 2:10-cv-01364-KDE-ALC
DELORIS BOOTH 1:09-CV-844-HSO-JMR 2:10-cv-01365-KDE-ALC
TYESA HAWKINS 1:09-CV-845-HSO-JMR 2:10-cv-00914-KDE-ALC
TANYA BOOTH 1:09-CV-846-HSO-JMR 2:10-cv-00916-KDE-ALC
ERIK LANDRUM 2:09-CV-273-HSO-JMR 2:10-cv-00484-KDE-ALC
JAMES P. CLARK 2:09-CV-274-HSO-JMR 2:10-cv-00485-KDE-ALC
JERRY MARKHAM 2:09-CV-275-HSO-JMR 2:10-cv-00486-K DE-ALC
NEKEIDRA PARKER 3:09-C V-789-HSO-JMR 2:10-cv-00488-KDE-ALC
ROSALINE NARCISSE 3:09-CV-790-HSO-JMR 2:10-cv-01405-KDE-ALC
PAMELA GARNER 3:09-CV-791-HSO-JMR 2:10-cv-00489-KDE-ALC
T. L. MAY 3:09-C V-792-HSO-JMR 2:10-cv-01406-KDE-ALC

SHAMAR BEASLEY

3:09-CV-793-HSO-JMR

2:10-cv-01502-KDE-ALC

